     CASE 0:19-cr-00141-PJS-ECW Doc. 83 Filed 06/24/20 Page 1 of 12   1


 1                       UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
 2
       -----------------------------------------------------------
 3                                       )
        United States of America,        ) File No. 19-CR-141
 4                                       )           (PJS/SER)
                Plaintiff,               )
 5                                       )
        v.                               ) Minneapolis, Minnesota
 6                                       ) May 19, 2020
        Cornett Golden,                  ) 11:30 a.m.
 7                                       )
                Defendant.               )
 8     -----------------------------------------------------------

 9                 BEFORE THE HONORABLE PATRICK J. SCHILTZ
                     UNITED STATES DISTRICT COURT JUDGE
10                   (VIDEOCONFERENCE OF MOTION HEARING)

11     APPEARANCES
        For the Plaintiff:            U.S. ATTORNEY'S OFFICE
12                                    JOSEPH THOMPSON, AUSA
                                      JORDAN SING, AUSA
13                                    300 S. 4th St., #600
                                      Minneapolis, Minnesota 55415
14
        For the Defendant:            JONES DAY
15                                    KRISTIN ZINSMASTER, ESQ.
                                      90 S. 7th St., #4950
16                                    Minneapolis, Minnesota 55402

17      Court Reporter:               DEBRA K. BEAUVAIS, RPR-CRR
                                      300 S. 4th St., #1005
18                                    Minneapolis, Minnesota 55415

19

20

21         Proceedings recorded by mechanical stenography;
       transcript produced by computer.
22

23

24

25



                          DEBRA K. BEAUVAIS, RPR-CRR
                                 612-664-5102
     CASE 0:19-cr-00141-PJS-ECW Doc. 83 Filed 06/24/20 Page 2 of 12           2


 1                             P R O C E E D I N G S

 2                                 IN OPEN COURT

 3                 THE LAW CLERK:    United States District Court for

 4     the District of Minnesota is now in session, the Honorable

 5     Patrick J. Schiltz presiding.

 6                 THE COURT:    This is the case of the United States

 7     v. Cornett Golden.      The case is Criminal No. 19-0141.       If I

 8     could have the attorneys who are involved each make their

 9     appearances, please, beginning with the prosecutor.

10                 MR. THOMPSON:    Thank you, Your Honor.      Good

11     morning.    It's Joe Thompson and Jordan Sing on behalf of the

12     United States.

13                 MR. SING:    Good morning, Your Honor.

14                 THE COURT:    Good morning.

15                 MS. ZINSMASTER:    Good morning, Your Honor.

16     Kristin Zinsmaster appearing on behalf of Mr. Golden, who is

17     present via video from the Sherburne County Jail.

18                 THE COURT:    And good morning to you.

19                 Mr. Golden, good morning.       Are you able to hear

20     me?

21                 THE DEFENDANT:    Yes, sir, Your Honor.

22                 THE COURT:    All right.   Are you able to see me as

23     well?

24                 THE DEFENDANT:    Yes, sir.

25                 THE COURT:    All right.   And were you able to hear



                          DEBRA K. BEAUVAIS, RPR-CRR
                                 612-664-5102
     CASE 0:19-cr-00141-PJS-ECW Doc. 83 Filed 06/24/20 Page 3 of 12         3


 1     the prosecutors and Ms. Zinsmaster?

 2                 THE DEFENDANT:    Yes.   Yes, sir.

 3                 THE COURT:   All right.    It's very important that

 4     you be able to hear and see everything that happens today.

 5     So if you have any trouble with the technology, let me know.

 6     If your audio cuts out, wave your hand or if your video cuts

 7     out, let me know.     Okay?

 8                 THE DEFENDANT:    Yes, sir.

 9                 THE COURT:   All right.    And if you want to talk

10     privately with Ms. Zinsmaster at any time today, that's

11     fine.   You're welcome to do that.      Just tell me you'd like

12     to talk to her and they have a way that you can talk to her

13     privately without the rest of us hearing.         Okay?

14                 THE DEFENDANT:    Yes, sir, Your Honor.

15                 THE COURT:   All right.    And before we go any

16     further, Mr. Golden, I just want to make sure that you

17     understand that you don't have to participate in this

18     hearing by video.     That's entirely up to you.      You have the

19     right to ask that we have this hearing at the courthouse

20     when you can be physically present or you can give us

21     permission to do this hearing by video.

22                 Do you understand that you have that choice?

23                 THE DEFENDANT:    Yes, sir, Your Honor.

24                 THE COURT:   All right.    And have you talked to

25     Ms. Zinsmaster about that?



                          DEBRA K. BEAUVAIS, RPR-CRR
                                 612-664-5102
     CASE 0:19-cr-00141-PJS-ECW Doc. 83 Filed 06/24/20 Page 4 of 12            4


 1                 THE DEFENDANT:    Yes.   Yes, sir, Your Honor.

 2                 THE COURT:   All right.    And are you willing to let

 3     us proceed by video in this case?

 4                 THE DEFENDANT:    Yes, sir, Your Honor.

 5                 THE COURT:   Okay.    We will go ahead then.       Let me

 6     just make a record of why I asked for this hearing.

 7                 Mr. Golden was indicted on May 14th of 2019 on two

 8     counts of bank robbery.      Motions practice ensued, and that

 9     motions practice ended October 31st of 2019 when I denied

10     various suppression motions.       I set the trial for November

11     18th, 2019.

12                 On November 8th, ten days before trial, I received

13     a motion filed by Mr. Golden's attorneys.         They told me that

14     he had directed them to file the motion and asked to

15     withdraw as his counsel.      I held a hearing on that motion on

16     November 12th.    Mr. Golden spoke at that hearing.        He also

17     submitted a letter to me at that hearing.         In his letter and

18     in his comments to me he expressed dissatisfaction of a

19     number of things, including with the federal defender who he

20     said had a personal vendetta against him and he suspected

21     her of conspiring with the prosecutor and his own attorneys

22     to harm him.    At the end of the hearing on November 12th, I

23     denied the motion finding that Mr. Golden had not

24     established justifiable dissatisfaction with his attorneys.

25                 Two days later then, on November 14th,



                          DEBRA K. BEAUVAIS, RPR-CRR
                                 612-664-5102
     CASE 0:19-cr-00141-PJS-ECW Doc. 83 Filed 06/24/20 Page 5 of 12        5


 1     Mr. Golden's attorneys, again acting at his direction, filed

 2     a motion to continue the trial so that Mr. Golden would have

 3     time to decide whether to hire new counsel or represent

 4     himself pro se.

 5                 I held a hearing on that motion on the next day,

 6     November 15th, which was the pretrial conference, and

 7     Mr. Golden spoke to me at that hearing.        He submitted

 8     another letter.     In that letter and in his comments to me he

 9     made some additional allegations against his attorneys.

10                 Based on my conversations with Mr. Golden at the

11     two hearings and based on the letters that he had submitted

12     to me, I questioned whether he was competent to stand trial

13     at that time.    So later that day, that is on November 15th

14     of 2019, I ordered that Mr. Golden undergo a competency

15     evaluation and remanded him to the custody of the Attorney

16     General for that purpose.

17                 So last week something made me think of Mr. Golden

18     and I realized that I hadn't heard about him in a long time,

19     and I looked and I realized it had been six months since I

20     had ordered him to be evaluated.       And it usually takes a

21     long time for evaluations, but not that long.         And I asked

22     my Courtroom Deputy to check with the Marshal Service and

23     they told me the United States Attorney's Office had never

24     notified them of my order or done anything to implement my

25     order and, as a result, Mr. Golden has been sitting in the



                          DEBRA K. BEAUVAIS, RPR-CRR
                                 612-664-5102
     CASE 0:19-cr-00141-PJS-ECW Doc. 83 Filed 06/24/20 Page 6 of 12           6


 1     Sherburne County Jail since November with nothing happening.

 2     So we're here today for me to figure out what happened and

 3     where we should go from here.

 4                 Mr. Thompson, are you doing the talking today or

 5     Mr. Sing?

 6                 MR. THOMPSON:    Your Honor, I will.     Yes.

 7                 THE COURT:   All right.    So, Mr. Thompson, can you

 8     tell me what happened?      I mean, my understanding is when I

 9     remit somebody to the custody of the Attorney General for an

10     evaluation, your office has always picked up the ball from

11     that point, made the arrangements, kept me informed.           It

12     appears nothing happened, unless I'm missing something.

13                 MR. THOMPSON:    Your Honor, I apologize.       I didn't

14     realize that we were to deliver that order to the Marshal's

15     service.    I haven't done that in a long time in terms of a

16     competency hearing and if we dropped the ball, that's on me.

17                 THE COURT:   Okay.    Well, I think you dropped the

18     ball.   I don't even remember if you were representing the

19     United States at the time, so it may not be you personally.

20     But, I mean, when I enter a competency order, I'm remitting

21     him to the custody of the Attorney General, that's you, and

22     you pick it up from there.

23                 I think I have had three other orders and the U.S.

24     Attorney is always the one who gets on the phone with the

25     Bureau of Prisons and sets it up.       I just don't know what to



                          DEBRA K. BEAUVAIS, RPR-CRR
                                 612-664-5102
     CASE 0:19-cr-00141-PJS-ECW Doc. 83 Filed 06/24/20 Page 7 of 12         7


 1     say.

 2                 Mr. Golden, I just have to apologize to you.       You

 3     should not have been sitting out there these last six

 4     months.   The prosecutor just dropped the ball and nobody

 5     communicated with me.      I didn't realize it.     I thought you

 6     were off at your evaluation.       I had no idea you were still

 7     at Sherburne County.

 8                 So the question is what do we do going forward?         I

 9     don't know, Ms. Zinsmaster, if you have any thoughts on what

10     we should do going forward.

11                 MS. ZINSMASTER:    Well, Your Honor, I do think that

12     there are some items of unfinished business pertaining to

13     the order that the Court issued on the 15th of November.        Of

14     course, Mr. Golden had requested a change in his appointed

15     counsel at which point the Court, I believe, reserved that

16     decision in light of Mr. Golden needing to receive the

17     evaluation at an FMC.

18                 So since that never happened, I would certainly

19     defer to the Court as far as its desired course of action

20     with respect to Mr. Golden's counsel, but I do believe that

21     that decision is outstanding.

22                 I'm here on behalf of Mr. Golden today, not

23     Mr. Morrison, and I don't know if the Court intends to

24     address our appointment at this hearing or would prefer that

25     to be done separately?



                          DEBRA K. BEAUVAIS, RPR-CRR
                                 612-664-5102
     CASE 0:19-cr-00141-PJS-ECW Doc. 83 Filed 06/24/20 Page 8 of 12          8


 1                 THE COURT:   My understanding from my Courtroom

 2     Deputy is that you are going to be going on maternity leave

 3     sometime in the near future?

 4                 MS. ZINSMASTER:    Yes, and I had communicated that

 5     to Mr. Golden.    Mr. Golden and I spoke twice last week and I

 6     informed him that I had personal circumstances that would

 7     not permit me to try his case this summer if he chose to do

 8     that.   Yes, that's right, Your Honor.

 9                 THE COURT:   Okay.    So, Mr. Golden, let me hear

10     what you think.     Is it still your desire that I give you a

11     new attorney to represent you?

12                 THE DEFENDANT:    Yes, Your Honor.

13                 THE COURT:   Okay.    What I think I'm inclined to

14     do, Mr. Golden, is to go ahead and appoint a new attorney to

15     represent you right away, in the next day or two.          And then

16     I think it would be best for you to consult with that

17     attorney about how best to proceed at this point.          He may

18     think the best thing to do is to go forward with the

19     evaluation.    He may want to file some motions to dismiss

20     your indictment because of a violation of the Speedy Trial

21     Act.    He may have other things -- he or she, I don't know

22     who it would be -- may have other things that he or she

23     wants to talk to you about.

24                 I think the best way to proceed would be -- I

25     think it does make sense at this point for me to appoint a



                          DEBRA K. BEAUVAIS, RPR-CRR
                                 612-664-5102
     CASE 0:19-cr-00141-PJS-ECW Doc. 83 Filed 06/24/20 Page 9 of 12           9


 1     new lawyer for you, for you to talk to that new lawyer, and

 2     then your new lawyer to tell me how you want to proceed.

 3                 Is that an acceptable way to proceed with you?

 4                 THE DEFENDANT:    Yes, sir, Your Honor.

 5                 THE COURT:   Okay.    Let's do that, then.     As soon

 6     as this hearing is over with, I will get the wheels in

 7     motion to get a new attorney appointed for you.          And,

 8     hopefully, that person will contact you I hope by the end of

 9     the week, but if not, early next week.

10                 I'm just a little concerned, Mr. Golden, because

11     the ball has already been dropped once in your case.            If you

12     don't hear from a new attorney next week, will you please

13     write me a letter or call Ms. Zinsmaster and let us know so

14     I can make sure the new attorney gets ahold of you?

15                 THE DEFENDANT:    Yes, Your Honor.     But if I write a

16     letter, do I write it to the Government Center or what do I

17     -- I don't -- I don't know where to write it to.

18                 THE COURT:   In the past you've just handed me

19     letters, right?

20                 THE DEFENDANT:    Yes, Your Honor.

21                 THE COURT:   Okay.    So I would say when we're done

22     here Ms. Zinsmaster can talk to you about how you can either

23     contact her or how you can contact me.        You're welcome to do

24     either.   If you want to write me a letter, that's fine.          If

25     you want to call her or write her a letter, that's fine.



                          DEBRA K. BEAUVAIS, RPR-CRR
                                 612-664-5102
     CASE 0:19-cr-00141-PJS-ECW Doc. 83 Filed 06/24/20 Page 10 of 12           10


 1      Just don't sit there for more months.        Okay?    I want to get

 2      your case moving.

 3                 THE DEFENDANT:     Yes, sir, Your Honor.

 4                 THE COURT:    Okay.   Mr. Golden, is there anything

 5      else you wanted to say this morning?

 6                 THE DEFENDANT:     No, sir.

 7                 THE COURT:    All right.    Mr. Thompson, I would like

 8      you to proceed with setting up the evaluation.          It usually

 9      takes a few weeks to do that.      And I want to not waste any

10      more time on getting that set up.        It may be that

11      Mr. Golden's new attorney will want some motion practice

12      before that, but let's get Mr. Golden in the next slot, you

13      know, because there's a waiting list for this thing.           Let's

14      get him on the list and let's get the process moving.          If

15      there's anything that you can do to expedite it, given

16      what's happened, that would be appreciated.          So please talk

17      to the Bureau and let me know what they say and what the

18      prospect for getting Mr. Golden evaluated is.

19                 MR. THOMPSON:    Will do, Your Honor.

20                 THE COURT:    Okay.   Mr. Thompson, is there anything

21      more you wanted to say this morning?

22                 MR. THOMPSON:    No, Your Honor.     Thank you.

23                 THE COURT:    And, Ms. Zinsmaster, anything more?

24                 MS. ZINSMASTER:     No, Your Honor.       We are all set.

25      Thank you very much.



                           DEBRA K. BEAUVAIS, RPR-CRR
                                  612-664-5102
     CASE 0:19-cr-00141-PJS-ECW Doc. 83 Filed 06/24/20 Page 11 of 12           11


 1                 THE COURT:    Okay.   So would you stay on the line

 2      or I guess --

 3                 MS. ZINSMASTER:     I think Mr. Golden may have

 4      something else.

 5                 THE DEFENDANT:     Now, he just said -- I thought I

 6      was just been asked if I could speak with you when everybody

 7      is finished.

 8                 MS. ZINSMASTER:     Yes.    I will set that up,

 9      Cornett, absolutely.

10                 THE DEFENDANT:     Yes, Ma'am.

11                 THE COURT:    I think you can just go to a private

12      room now, Ms. Zinsmaster, with him or you can -- I don't

13      know how you do it.

14                 MS. ZINSMASTER:     Mr. Golden, do you have questions

15      about going forward that you wanted to talk about after the

16      hearing or did you want to talk during the hearing when

17      everybody is waiting for us?

18                 THE DEFENDANT:     After the hearing.

19                 MS. ZINSMASTER:     Okay.   I will set up a call just

20      as I did last week, Mr. Golden, and we will get on the phone

21      again and have that conversation.

22                 THE DEFENDANT:     Yes, Ma'am.

23                 THE COURT:    Okay.   Ms. Zinsmaster, I mean, another

24      option is we'll all get off and you can just talk to

25      Mr. Golden.    You can just continue the conversation.         But I



                           DEBRA K. BEAUVAIS, RPR-CRR
                                  612-664-5102
     CASE 0:19-cr-00141-PJS-ECW Doc. 83 Filed 06/24/20 Page 12 of 12        12


 1      leave it up to you as to what works.

 2                   MS. ZINSMASTER:      We have had very good luck with

 3      the other set-up, Your Honor, thankfully to all parties

 4      involved.    So I'm just going to use that secure link and get

 5      on the phone with him this afternoon or tomorrow morning.

 6                   THE COURT:   Okay.     Sounds good.

 7                   All right.   So I will contact the Federal

 8      Defender's Office and get Mr. Golden a new attorney

 9      appointed.    And Mr. Thompson will contact the Bureau and get

10      the competency evaluation wheels turning as well.

11                   Thank you all for participating in the hearing,

12      then.

13                   MR. THOMPSON:       Thank you, Your Honor.

14                   THE DEFENDANT:      Thank you, Your Honor.

15                   (Court adjourned at 11:50 a.m.)

16                                   *       *     *

17                  I, Debra Beauvais, certify that the foregoing is a

18      correct transcript from the record of proceedings in the

19      above-entitled matter.

20                       Certified by:       s/Debra Beauvais
                                             Debra Beauvais, RPR-CRR
21

22

23

24

25



                           DEBRA K. BEAUVAIS, RPR-CRR
                                  612-664-5102
